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 1 Ahren A. Tiller, Esq. [SBN: 250608]
     BLC Law Center, APC
 2 1230 Columbia St., Ste 1100
     San Diego, CA 92101
 3 Phone (619) 894-8831
     Facsimile: (866) 444-7026
 4 Email: Ahren.Tiller@blc-sd.com

 5 Attorneys for Plaintiff
     TIMOTHY DAWSON
 6

 7

 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10

11
                                                           Case No.:
12

13                                                         COMPLAINT FOR DAMAGES
      TIMOTHY DAWSON,                                      FOR VIOLATIONS OF THE
14                                                         ROSENTHAL FAIR DEBT
                       Plaintiff,                          COLLECTION PRACTICES ACT
15                                                         (CAL. CIV. CODE §§ 1788-
            vs.                                            1778.32) AND VIOLATIONS OF
16                                                         THE TELEPHONE CONSUMER
      T.D. BANK US HOLDING COMPANY,                        PROTECTION ACT (47 U.S.C.
17    and TD BANK, N.A.                                    §227)
18
                    Defendants,
19                                                         JURY TRIAL DEMANDED
20

21                              COMPLAINT FOR DAMAGES
22

23                                       INTRODUCTION
24 1. TIMOTHY DAWSON (hereinafter referred to as “Plaintiff”), by and through

25      his Counsel of record, brings this action against TD BANK US HOLDING
26      COMPANY, and TD BANK, N.A. (hereinafter collectively referred to as “TD
27      Bank” or “Defendants”) pertaining to actions by Defendants to unlawfully
28      collect a debt allegedly owed by Plaintiff, including but not limited to,

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 1         collection via the use of an Automated Telephone Dialing System (“ATDS”)
 2         and/or Artificial or Prerecorded Voice in violation of the Telephone Consumer
 3         Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), and the Rosenthal Fair Debt
 4         Collection Practices Act (“RFDCPA” [CAL. CIV. CODE §§ 1788-1788.32]),
 5         thereby invading Plaintiff’s privacy, and causing Plaintiff damages.
 6 2. The California legislature determined that unfair or deceptive collection

 7         practices undermine the public confidence which is essential to the continued
 8         functioning of the banking and credit system. The legislature further
 9         determined there is a need to ensure that debt collectors and debtors exercise
10         their responsibilities to one another with fairness, honesty, and due regard for
11         the rights of others. The legislature’s explicit purpose of enacting the Rosenthal
12         Fair Debt Collection Practices Act of California (hereafter “RFDCPA”) was to
13         prohibit debt collectors from engaging in unfair or deceptive acts or practices in
14         the collection of consumer debts, and to require debtors to act fairly in entering
15         into and honoring such debts.1
16 3. The Telephone Consumer Protections Act (hereafter “TCPA”) was designed to

17         prevent calls like the ones described within this complaint, and to protect the
18         privacy of citizens like Plaintiff. “Voluminous consumer complaints about
19         abuses of telephone technology – for example, computerized calls dispatched to
20         private homes – prompted Congress to pass the TCPA.” Mims v. Arrow Fin.
21         Servs., LLC, 132 S. Ct. 740, 744 (2012).
22 4. In enacting the TCPA, Congress specifically found that “the evidence presented

23         to Congress indicates that automated or prerecorded calls are a nuisance and an
24         invasion of privacy, regardless of the type of call . . .” Id. at §§ 12-13. See also,
25         Mims, 132 S. Ct., at 744.
26 5. As Judge Easterbrook of the Seventh Circuit explained in a TCPA case

27

28
     1
         CA Civil Code §§ 1788.1(a)-(b)
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 1      regarding calls similar to this one:
 2                The Telephone Consumer Protection Act … is well
                  known for its provisions limiting junk-fax transmissions.
 3                A less-litigated part of the Act curtails the use of
                  automated dialers and prerecorded messages to cell
 4                phones, whose subscribers often are billed by the minute
                  as soon as the call is answered—and routing a call to
 5                voicemail counts as answering the call. An automated
                  call to a landline phone can be an annoyance; an
 6                automated call to a cell phone adds expense to
                  annoyance.
 7
                  Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637,
 8                638 (7th Cir. 2012).
 9

10 6. Plaintiff alleges as follows upon personal knowledge as to herself and his own

11      acts and experiences, and, as to all other matters, upon information and belief,
12      including investigation conducted by his attorneys.
13

14                                JURISDICTION AND VENUE
15   7. This action is based upon Defedants’ violations of the RFDCPA, which is
16       found in California Civil Code §§ 1788 - 1788.32; and the TCPA, which is
17       found in Title 47 of United States Code Section 227, et seq.
18   8. This Court has jurisdiction over Defendants, pursuant to 28 U.S.C. § 1331, as
19       the unlawful practices alleged herein involve a federal question under the
20       TCPA.
21   9. This Court further has supplemental jurisdiction over Plaintiff’s California
22       Causes of action, pursuant to 28 U.S.C. § 1367(a), as Plaintiff’s California
23       state law claims are so related to Plaintiff’s Federal TCPA claims in this
24       action, that they form part of the same case or controversy under Article III of
25       the United States Constitution.
26   10. Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b)(1)-(2), because
27       all or some of the unlawful practices and violations of law alleged herein
28       occurred and are occurring in the County of Ventura, California. Furthermore,

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 1      Defendant regularly conducts business within State of California, County of
 2      Ventura, and Plaintiff resides in Ventura County, California.
 3

 4                                            PARTIES
 5 11. Plaintiff is, and was at all times mentioned herein, a natural person residing in

 6      the County of Ventura, in the State of California.
 7 12. Plaintiff is a natural person from whom a debt collector sought to collect a

 8      consumer debt which was due and owing or alleged to be due and owing by
 9      Plaintiff, and therefore Plaintiff is a “debtor” as that term is describe by Cal
10      Civ. Code §1788.2(h).
11 13. On information and belief, Plaintiff alleges that Defendant TD Bank US

12      Holding Company is, and at all times mentioned herein was, a Delaware
13      corporation headquartered in New Jersey and doing business throughout the
14      country, including this District. TD Bank US Holding Company is, and at all
15      times mentioned herein, was a foreign corporation doing business within the
16      State of California.
17 14. On information and belief, Plaintiff alleges that Defendant TD Bank N.A., is,

18      and at all times mentioned herein was, a National Banking Association
19      headquartered in New Jersey and doing business throughout the country,
20      including this District. Defendant TD Bank N.A., is, and at all times
21      mentioned herein, was a foreign corporation doing business within the State of
22      California.
23 15. On information and belief, Defendant TD Bank, N.A., is a wholly-owned

24      subsidiary of TD Bank US Holding Company.
25 16. On information and belief, Defendant TD Bank US Holding Company and

26      Defendant TD Bank, N.A., share physical locations, management, and
27      overlapping business such that they are in essence indistinguishable aside from
28      name and formal structure.

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 1

 2   17. On information and belief, Plaintiff alleges that Defendants’ primary business
 3       operations are the issuance of unsecured consumer loans and credit cards, and
 4       the collection of amounts due and owing on those accounts.
 5   18. On information and belief, Defendants regularly engages through the course of
 6       its business in collection activities to collect consumer debts owed to it.
 7   19. A significant portion of both of the Defendants’ business operations are
 8       dedicated to collecting debts owed to itself, primarily consumer credit card
 9       debt and unsecured consumer loans. Part of the Defendants’ regular business
10       practices are to make repeated phone calls to persons it believes responsible
11       for paying past-due debts.
12   20. Defendants are, and all times mentioned herein, were each corporations and
13       “persons,” as those terms are defined by 47 U.S.C. § 153(39).
14   21. Defendants regularly attempt to collect on “consumer debts” owed them, as
15       that term is defined by Cal. Civ. Code §1788.2(f), through the use of the mails,
16       electronic communication, and the telephone. Therefore, Defendants are each
17       “debt collectors” as that term is defined by Cal. Civ. Code §1788.2(c), and
18       engage in “debt collection” as that term is defined by Cal. Civ. Code
19       §1788.2(b).
20 22. At all times relevant hereto, Defendants used, controlled and or operated an

21      “automatic telephone dialing system” (“ATDS”) as that term is defined by 47
22      U.S.C. § 227(a)(1) and/or placed calls to Plaintiff using an automated or
23      prerecorded voice (“Recorded Voice”) as that term is defined in 47 U.S.C. §
24      227(b)(1)(A).
25 23. This case involves money, property, or their equivalent, due or owing or

26      alleged to be due or owing from a natural person by reason of a consumer
27      credit transaction. Therefore, this action arises out of a “consumer debt” and
28      “consumer credit” as those terms are defined by Cal. Civ. Code §1788.2(f).

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 1                               GENERAL ALLEGATIONS
 2 24. Plaintiff incorporates by reference and realleges Paragraphs 1-23 above as if

 3      fully stated herein.
 4 25. On or about May of 2018, Plaintiff took out a personal consumer retail

 5      installment loan with the Defendants.
 6 26. Plaintiff maintained regular monthly payments due to Defendants, but

 7      eventually fell on financial hardship, and was unable to maintain his monthly
 8      payments to Defendants.
 9 27. Upon going into default, agents for Defendants called Plaintiff multiple times

10      and requested payment through the use of an ATDS and/or a Recorded Voice,
11      often 1-5 times per day, almost every single day.
12 28. On multiple occasions, Defendants left Pre-Recorded Automated Voice

13      messages for Plaintiff to call Defendants.
14 29. Plaintiff sought out and retained an attorney to represent him with regards to

15      the debt that Defendants were collecting on.
16 30. On October 1, 2018, Plaintiff’s Counsel drafted a letter wherein he stated that

17      he represented Plaintiff with regards to any claims held or serviced by
18      Defendants. The letter contained Plaintiff’s name and a partial account
19      number for identification (hereinafter referred to as: “Cease and Desist Letter
20      No. 1”).
21 31. Plaintiff’s Counsel sent Cease and Desist Letter No. 1 to Defendants via

22      facsimile on October 2, 2018.
23 32. The facsimile was confirmed via a 3rd party facsimile company to have been

24      successfully transmitted, therefore Defendants received the facsimile
25      transmission of Cease and Desist Letter No. 1.
26 33. Despite receiving Cease and Desist Letter No. 1, Defendants continued to call

27      Plaintiff incessantly.
28

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 1       34. On October 22, 2018, in an effort to get Defendants to stop calling Plaintiff,
 2           Plaintiff’s Counsel drafted and sent a second cease and desist letter (“Cease
 3           and Desist Letter No. 2”).
 4       35. In Cease and Desist Letter No. 2, Plaintiff’s Counsel again stated that he
 5           represented Plaintiff with regards to any claims held or serviced by
 6           Defendants. The letter contained Plaintiff’s name and a partial account
 7           number for identification.
 8       36. Plaintiff’s Counsel sent Cease and Desist Letter No. 2 to Defendants via
 9           facsimile on October 2, 2018.
10       37. The 2nd facsimile was confirmed via a 3rd party facsimile company to have
11           been successfully transmitted, therefore Defendants received the facsimile
12           transmission of Cease and Desist Letter No. 2 as well.
13       38. Despite receipt of both Cease and Desist Letters Nos. 1 and 2, Defendants
14           continued to incessantly call Plaintiff on his cellular telephone, often multiple
15           times per day to collect on its claim.
16       39. Further, Defendants, or its agents or representatives, continued to call Plaintiff
17           using an ATDS and/or Recorded Voice.
18       40. In both Cease and Desist Letter Nos. 1 and 2, Plaintiff’s Counsel provided
19           Plaintiff’s name, and explained that a formal demand was being made
20           pursuant to Cal. Civ. Code §1788.14(c), that all further communication with
21           Plaintiff cease, and that any future communication be exclusively sent to
22           Plaintiff’s Counsel.
23       41. In both Cease and Desist Letter Nos. 1 and 2, the verbiage expressly revoked
24           consent to contact Plaintiff in any fashion, including via calling him with the
25           use of an Automated Telephone Dialing System and/or Recorded Voice.
26       42. Plaintiff’s Counsel then advised Plaintiff to pick up the collection calls from
27

28   2
      Although the letter is dated October 1st 2018, it was in fact drafted and successfully transmitted by facsimile on
     October 2nd 2018.
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 1      Defendants and to state that he had retained counsel. On his Counsel’s advice,
 2      Plaintiff subsequently informed representatives of the Defendants that Plaintiff
 3      had retained counsel and instructed those representatives to cease contacting
 4      Plaintiff.
 5 43. In said telephone calls, Plaintiff orally revoked any alleged prior consent to

 6      call Plaintiff via the use of an ATDS and/or Recorded voice. Despite said oral
 7      revocation, agents for the Defendants continued to call Plaintiff using an
 8      ATDS and/or Recorded Voice.
 9 44. On November 20, 2018, Plaintiff’s Counsel drafted a third Cease and Desist

10      Letter to Defendants (“Cease and Desist Letter No. 3”). In Cease and Desist
11      Letter No. 3, Plaintiff’s Counsel provided Defendants with Plaintiff’s name
12      and the last 4 digits of his social security number.
13 45. Similar to the previous two (2) Cease and Desist Letters, Cease and Desist

14      Letter No. 3 again expressly stated that Plaintiff was represented by Counsel
15      and that pursuant to Cal. Civ. Code § 1788.14(c), Defendants should have
16      ceased all direct communication with Plaintiff. Additionally, Cease and Desist
17      Letter No. 3 again revoked any alleged consent given by Plaintiff to be
18      contacted by an ATDS and/or Recorded Voice.
19 46. Plaintiff’s Counsel sent Cease and Desist Letter No. 3 to Defendants via a

20      third party mailing service known as Docsmit!.
21 47. Docsmit! records reflect that on November 20, 2018 Cease and Desist Letter

22      No. 3 was mailed to Defendants at:
23

24         TD Bank, N.A.
           1701 Route 70 East
25         Cherry Hill, New Jersey 08034
26 48. Pursuant to Docsmit!’s records, Defendants received the mailed copy of Cease

27      and Desist Letter No. 3 via U.S. Mail.
28 49. Despite receipt of Cease and Desist letter No. 3 via U.S. Mail, Defendants

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 1       continued to call Plaintiff via the use of an ATDS and/or Recorded Voice.
 2   50. Despite receipt of two Cease and Desist Letters by facsimile and one more
 3       letter by mail, and receiving oral revocation of consent to contact Plaintiff via
 4       any means including via the use of an ATDS and/or Recorded Voice,
 5       Defendants continued to incessantly call Plaintiff on his cellular telephone,
 6       often multiple times per day to collect on its claim.
 7   51. Furthermore, Defendants, or their agents or representatives, continued to call
 8       Plaintiff at his place of employment, despite being informed by Plaintiff that
 9       he was not allowed to accept calls and informed Defendants to stop calling his
10       place of employment as it was inconvenient and harassing for them to do so.
11   52. Defendants, or their agents or representatives, have contacted Plaintiff on his
12       cellular telephone over fifty (50) times since October 2, 2018, including
13       through the use of an ATDS and/or Recorded voice as those terms are defined
14       in 47 U.S.C. § 227(a)(1) and/or 47 U.S.C. § 227(b)(1)(A).
15   53. Despite receipt of two (2) separate letters sent via facsimile and one (1) by
16       mail, along with oral instructions to cease calling Plaintiff via the telephone on
17       multiple occasions, all of which provided irrefutable notice that Plaintiff had
18       revoked consent to call his cellular telephone by any means and that he had
19       retained Counsel regarding these alleged debts, Defendants continues to
20       contact Plaintiff repeatedly on his cellular telephone via the use of an ATDS to
21       date.
22   54. On information and belief, these collection calls were made using equipment
23       that had the capacity to store or produce telephone numbers to be called using
24       a random or sequential number generator, and to dial such numbers, and was
25       therefore an automatic telephone dialing system (“ATDS”) as that term is
26       defined by 47 U.S.C. § 227(a)(1).
27   55. As is evidenced by the frequency and rapid succession of the call times and
28       dates, the ATDS computer software automatically called Plaintiff at certain

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 1       times from random numbers, usually multiple times a day with varying call
 2       times.
 3 56. Many of the Defendants’ calls to Plaintiff after receiving Cease and Desist

 4       Letters Nos. 1-3 contained an “artificial or prerecorded voice” as prohibited by
 5       47 U.S.C. § 227(b)(1)(A).
 6 57. The multiple calls made by Defendants or their agents after October 2, 2018

 7       were therefore made in violation of 47 U.S.C. § 227(b)(1).
 8 58. Further, when Plaintiff answered the telephone, Defendants’ agents were rude,

 9       abusive, and aggressive when they called to collect from Plaintiff. They
10       would rebuke Plaintiff’s requests to cease calling and have continued to harass
11       Plaintiff to date, despite his repeated oral and written requests to cease their
12       harassment.
13 59. These interactions and unlawful debt collection practices caused emotional

14       distress to Plaintiff.
15 60. Plaintiff has received so many collection calls by the Defendants that his

16       voicemail has repeatedly filled up, preventing Plaintiff from receiving other
17       important messages and incurring actual charges as a result of his cellular
18       telephone plan.
19 61. Upon information and belief, Defendants regularly make autodialed telephone

20       calls with Recorded Voices in order to collect on past due debts owed to them.
21 62. Upon information and belief, the Defendants’ telephone equipment has the

22       capacity to store or produce telephone numbers to be called, using a random or
23       sequential number generator.
24 63. Upon information and belief, the telephone equipment used by the Defendants

25       to place the calls at issue have the capacity to dial telephone numbers
26       automatically from a stored list or database without human intervention, using
27       a random or sequential number generator.
28 64. Defendants’ collection calls to Plaintiff described herein, were not made for

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 1        emergency purposes, as defined by 47 U.S.C. § 227(b)(1)(A).
 2    65. Defendants’ collection calls to Plaintiff described herein, were not made solely
 3        for the purpose of collecting upon a debt owed to or guaranteed by the Federal
 4        Government.
 5    66. Defendants placed the collection calls described herein to a telephone number
 6        assigned to a cellular telephone service for which Plaintiff incurs a charge for
 7        incoming calls pursuant to 47 U.S.C. § 227(b)(1).
 8    67. Defendants’ aforementioned conduct personally affected Plaintiff, as Plaintiff
 9        was frustrated and distressed that the Defendants repeatedly interrupted
10        Plaintiff with unwanted calls using an ATDS and/or Recorded Voice for
11        collection purposes.
12    68. Through Defendants’ aforementioned conduct, Plaintiff suffered an invasion
13        of a legally protected interest in privacy, which is specifically addressed and
14        protected by the TCPA.
15    69. Defendants’ calls forced Plaintiff to live without the utility of his cellular
16        phones by occupying his cellular telephone with multiple unwanted calls,
17        causing a severe nuisance and lost time.
18    70. As a result of the Defendants’ relentless and harassing collection calls and
19        letters, Plaintiff has experienced anger and disbelief, and feelings of
20        powerlessness, which have resulted in a loss of sleep, loss of appetite,
21        headaches, anxiety and panic attacks, feelings of hypervigilance, paranoia and
22        depression.
23    71. These calls have consumed him day and have caused a severe disruption to
24        Plaintiff’s life, due to the extreme frequency of calls by the Defendants.
25    72. As a direct and proximate result of the aforementioned harassment committed
26        by the Defendants, the Plaintiff has suffered emotional distress.
27

28

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 1                                     CAUSES OF ACTION
 2

 3                                                    I.
 4                                 FIRST CAUSE OF ACTION
 5      VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTIONS PRACTICES ACT
 6                                 (CAL. CIV CODE § 1788.14(c))
 7 73. Plaintiff realleges and incorporates by reference Paragraphs 1 through 72,

 8       inclusive, as if fully set forth.
 9 74. Plaintiff’s Counsel sent Cease and Desist Letters Nos. 1 and 2 via facsimile to

10       Defendants, and also sent Cease and Desist Letter No. 3 via U.S. Mail.
11       Further, Plaintiff orally informed the Defendants agents that he had retained
12       Counsel. Therefore, the Defendants were aware, or reasonably should have
13       been aware, that Plaintiff was represented by an attorney, and that Plaintiff no
14       longer wished to be contacted regarding these debts.
15 75. Cal. Civ. Code §1788.14(c) provides in relevant part,

16          No debt collector shall collect or attempt to collect a consumer debt
            by means of the following practices:
17               (c) Initiating communications, other than statements of
                 account, with the debtor with regard to the consumer
18               debt, when the debt collector has been previously notified
                 in writing by the debtor's attorney that the debtor is
19               represented by such attorney with respect to the
                 consumer debt and such notice includes the attorney's
20               name and address and a request by such attorney that all
                 communications regarding the consumer debt be
21               addressed to such attorney, unless the attorney fails to
                 answer correspondence, return telephone calls, or discuss
22               the obligation in question. This subdivision shall not
                 apply where prior approval has been obtained from the
23               debtor's attorney, or where the communication is a
                 response in the ordinary course of business to a debtor's
24               inquiry.
25 76. By calling Plaintiff over fifty (50) times since receipt of Cease and Desist

26       Letters Nos. 1, 2, sent by both facsimile and No. 3 via US Mail, the
27       Defendants violated Cal. Civ. Code §1788.14(c).
28 77. As a result of the constant collection calls from the Defendants, Plaintiff has

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 1        experienced anxiety, fear and uneasiness, has had difficulty sleeping, shortness
 2        of breath, nausea, and has at times been unable to calm down as the constant
 3        and harassing collection calls by the Defendants are overwheling. Plaintiff is
 4        constantly afraid to answer his phone and he cringes when his phone rings.
 5    78. Therefore, as a direct and proximate result of the unlawful collection efforts by
 6        the Defendants, Plaintiff suffered emotional distress.
 7

 8                                                  II.
 9                              SECOND CAUSE OF ACTION
10                         NEGLIGENT VIOLATIONS OF THE TCPA
11                                  (47 U.S.C. § 227 ET. SEQ.)
12    79. Plaintiff realleges and incorporates by reference Paragraphs 1 through 78,
13        inclusive, as if fully set forth.
14    80. Through the three (3) separate Cease and Desist Letters from Plaintiff’s
15        Counsel, sent via facsimile and US Mail, and via Plaintiff orally revoking
16        any alleged consent for the Defendants to call Plaintiff on his cellular
17        telephone via the use of an ATDS and/or Recorded Voice, Plaintiff clearly
18        revoked consent for Defendants to contact him via the use of an ATDS
19        and/or Recorded Voice.
20    81. The foregoing acts and omissions of the Defendants constitute numerous and
21        multiple negligent violations of the TCPA, including but not limited to each
22        and every one of the above-cited provisions of 47 U.S.C. § 227, et. seq.
23    82. As a result of the Defendants negligent violations of 47 U.S.C. §227, et.
24        seq., the Plaintiff is entitled to an award of $500 in statutory damages, for
25        each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
26    83. Plaintiff is also entitled to and seeks injunctive relief prohibiting such
27        conduct in the future, pursuant to 47 U.S.C. § 227(b)(3)(A).
28

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 1                                                 III.
 2                               THIRD CAUSE OF ACTION
 3                KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
 4                                  (47 U.S.C. § 227 ET. SEQ.)
 5    84. Plaintiff realleges and incorporates by reference Paragraphs 1 through 83,
 6        inclusive, as if fully set forth.
 7    85. Through the three (3) separate Cease and Desist Letters from Plaintiff’s
 8        Counsel, sent by both facsimile and US Mail, and orally, Plaintiff revoked
 9        any alleged consent for the Defendants to call the Plaintiff on his cellular
10        telephone via the use of an ATDS and/or Recorded Voice.
11    86. The foregoing acts of the Defendants constitute numerous and multiple
12        knowing and/or willful violations of the TCPA, including but not limited to
13        each and every one of the above-cited provisions of 47 U.S.C. § 227, et. seq.
14    87. Therefore, since the Defendants continued to call Plaintiff despite indisputably
15        being informed to not call Plaintiff on multiple occasions through multiple
16        different means, and that Plaintiff had revoked any alleged prior consent to
17        call Plaintiff’s cellular telephone via the use of and ATDS and/or Recorded
18        Voice, the Defendants acts were willful.
19    88. As a result of the Defendants knowing and/or willful violations of 47 U.S.C.
20        §227, et. seq., the Plaintiff is entitled to an award of $1,500 in statutory
21        damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
22    89. Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct
23        in the future, pursuant to 47 U.S.C. § 227(b)(3)(A).
24

25                                    PRAYER FOR RELIEF
26          WHEREFORE, Plaintiff having set forth the claims for relief against
27 Defendants, jointly and severally, respectfully request this Court enter a

28 Judgment against Defendants, jointly and severally, as follows:

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 1        a.     As to the First Cause of Action, an award of actual damages pursuant
 2               to Cal. Civ. Code §1788.30(a) according to proof, including
 3               compensatory damages for Plaintiff’s emotional distress for the
 4               harassing telephone calls and other debt collection efforts;
 5        b.     As to the First Cause of Action, an award of statutory damages of
 6               $1,000.00 pursuant to Cal. Civ. Code §1788.30(b);
 7        c.     As to the First Cause of Action, an award of reasonable attorney’s
 8               fees and costs pursuant to Cal. Civ. Code §1788.30(c);
 9        d.     As to the Second Cause of Action, $500 in statutory damages for each
10               and every one of Defendants’ over fifty (50) negligent violations of 47
11               U.S.C. §227(b)(1), pursuant to 47 U.S.C. § 227(b)(3)(B).
12        e.     Injunctive relief prohibiting such conduct in the future pursuant to 47
13               U.S.C. § 227(b)(3)(A);
14        f.     As to the Third Cause of Action, $1,500.00 in statutory damages for
15               each and every one of Defendants’ over fifty (50) knowing and/or
16               willful violations of 47 U.S.C. § 227(b)(1), totaling in excess of
17               $75,000.00, pursuant to 47 U.S.C. § 227(b)(3)(C).
18        g.     For such other and further relief as the Court may deem just and
19               proper.
20

21 Dated: February 20th, 2019                             By:      /s/ Ahren A. Tiller___
                                                                  Ahren A. Tiller, Esq.
22                                                                BLC Law Center, APC
23                                                                Attorneys for Plaintiff

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 1                               DEMAND FOR JURY TRIAL
 2          Pursuant to the Seventh Amendment to the Constitution of the United States
 3 of America, Plaintiff is entitled to, and demands, a trial by jury on all issues triable

 4 by jury.

 5

 6 Dated: February 20th, 2019                             By:     /s/ Ahren Tiller____________
                                                                  Ahren A. Tiller, Esq.
 7                                                                BLC Law Center, APC
 8                                                                Attorneys for Plaintiff

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                   Dawson v. T.D. Bank US Holding Company et. al., - Complaint for Damages
